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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEW JERSEY

 THE HOMESOURCE, CORP.,
                                                      Case No.: 1:18-cv-11970-ECR-AMD
                       Plaintiff,

        vs.

 RETAILER WEB SERVICES, LLC, et al.,

                       Defendants.


                              FOURTH SCHEDULING ORDER

        AND NOW, this 28 day of June, 2021, following an initial conference with Special

 Master Stephen M. Orlofsky and counsel for the parties, and pursuant to Paragraph 3(b) of the

 Order appointing Stephen M. Orlofsky as Special Master (Doc. No. 281), it is hereby

 ORDERED that:

        1.     All fact discovery shall be completed by September 17, 2021.

        2.     All opening expert reports shall be exchanged by October 18, 2021.

        3.     All rebuttal expert reports shall be exchanged by November 8, 2021.

        4.     All expert discovery shall be completed by December 8, 2021.

        5.     Any motions for summary judgment shall be filed by January 21, 2022.

        6.     Responses to any motions for summary judgment shall be filed by February 21,
               2022.

        7.     Replies in support of any motions for summary judgment shall be filed by March
               14, 2022.

        8.     Following the submission or non-submission of motion(s) for summary judgment,
               Judge Robreno shall reset pre-trial and trial deadlines.
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       IT IS SO ORDERED.

                                    s/ Stephen M. Orlofsky
                                    Stephen M. Orlofsky
                                    Special Master




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